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                          EXHIBIT 1
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                              IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                                   IN AND FOR BROWARD COUNTY, FLORIDA

                                                CASE NO.: CACE-23-020810

          TIANA ENNIX, on her own behalf
          and as representative of the estate of
          IYIANA JOY MCLEOD, Deceased

                        Plaintiff

            vs.

          PLANTATION GENERAL HOSPITAL,
          L.P., HCA HEALTHCARE, INC., and
          ABBOTT LABORATORIES


                        Defendants.

          ___________________________________/

                                 MOTION FOR LEAVE TO AMEND COMPLAINT

                  Plaintiff, TIANA ENNIX, on her own behalf and as representative of the estate of IYIANA

         JOY MCLEOD, deceased (“Plaintiff”), pursuant to Florida Rule of Civil Procedure 1.190(a),

         moves this Court for leave to amend her complaint to reassert claims against Plantation General

         Hospital, L.P., and HCA Healthcare, Inc. (together the “Hospital Defendants”) for negligence. In

         support thereof, Plaintiff states as follows:

                                                        BACKGROUND

                  On November 7, 2023, Plaintiff filed a seven (7) count Complaint against the Hospital

         Defendants and Abbott Laboratories (“Abbott”). Count I asserted claims against Abbott and the

         Hospital Defendants for violation of the Florida Deceptive and Unfair Trade Practices Act

         (“FDUTPA”) and Counts II-VII asserted claims against Abbott for strict liability design defect,

         strict   liability    failure   to   warn,     negligence,      intentional      misrepresentation,   negligent



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misrepresentation, constructive fraud, and violation of the Florida Deceptive and Unfair Trade

Practices Act (“FDUTPA”). Both Abbott and the Hospital Defendants moved to dismiss the

FDUTPA claims on the grounds they were claims for “personal injury or death.” On May 8, 2024,

the Court entered an order dismissing the FDUTPA claims against Abbott and the Hospital

Defendants.

       On May 31, 2024, Plaintiff filed an Amended Complaint against Abbott and the Hospital

Defendants. 1   The Amended Complaint added claims against the Hospital Defendants for

corporate negligence and violation of Fla. Stat. § 766.110. These claims asserted that the Hospital

Defendants breached their common law and statutory duties of care to Plaintiff by failing to

implement policies and procedures that would have prevented the Hospital Defendants from

facilitating Abbott’s marketing scheme and granting Abbott’s sales representatives unfettered

access to the Hospital Defendants’ medical staff.

       The Hospital Defendants thereafter moved to dismiss Plaintiff’s claims for corporate

negligence and violation of Fla. Stat. § 766.110. On September 13, 2024, the Court granted the

Hospital Defendants’ motion and dismissed Plaintiff’s claims against the Hospital Defendants

without prejudice pending completion of the presuit notice process. Exhibit 1. Abbott

subsequently removed this action to federal court on September 14, 2024. On October 10, 2024,

District Judge Rodolfo A. Ruiz II entered an order noting that Abbott’s removal was “nearly

frivolous” and remanded this action to this Court. Exhibit 2. The ninety-day presuit period expired

on October 30, 2024.




1
 Aside from dropping the FDUTPA claim, the Amended Complaint maintained all other claims
against Abbott.



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                                              ARGUMENT

       Pursuant to Florida Rule of Civil Procedure 1.190(a), “[l]eave of court shall be given freely

when justice so requires.” “[T]he decision to grant leave to amend is within the discretion of the

trial court, and any doubts are to be resolved in favor of the amendment.” Flagship Resort Dev.

Corp. v. Interval Intern., Inc., 28 So. 3d 915, 921 (Fla. 3d DCA 2010); Overnight Success Const.,

Inc. v. Pavarini Const. Co., Inc., 955 So. 2d 658, 659 (Fla. 3d DCA 2007) (same). Leave to amend

“should not be denied unless the privilege is abused, the opposing party will be prejudiced, or

amendment would be futile.” Gerber Trade Fin., Inc. v. Bayou Dock Seafood Co., Inc., 917 So.

2d 964, 968 (Fla. 3d DCA 2005).

       Here, the privilege to amend has not been abused as this is Plaintiff’s second request to

amend the pleadings. See Cousins Rest. Assocs. ex rel. Cousins Mgmt. Corp. v. TGI Friday's, Inc.,

843 So. 2d 980, 982 (Fla. 4th DCA 2003) (finding “[t]his is not a case where the plaintiff filed

repetitive motions for leave to amend and abused the privilege” where plaintiff sought leave to file

third amended complaint to assert new causes of action); Scott v. Trevett, 751 So. 2d 616, 618 (Fla.

4th DCA 1999) (“We find that the plaintiffs’ requested third amendment was not an abuse of the

privilege.”). Moreover, granting Plaintiff leave to amend will not prejudice either of the

Defendants. Discovery is ongoing, there are no dispositive motions pending, and Plaintiff’s

Second Amended Complaint will reassert the Amended Complaint’s claims against the Hospital

Defendants. Indeed, when the Hospital Defendants briefed their Motion to Dismiss, the Hospital

Defendants acknowledged that Plaintiff may reassert her claims against the Hospital Defendants

upon completion of the statutory waiting period. See Hospital Defendants’ Motion to Stay,

Exhibit 3. Finally, Plaintiff’s amendment would not be futile as Plaintiff’s claims against the




                                                 3
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Hospital Defendants are recognized causes of action, which the Court previously declined to

dismiss on the merits.

       Accordingly, because Plaintiff has not abused its privilege to amend the pleadings,

Defendants will not be prejudiced, and amendment would not be futile, Plaintiff is entitled file a

Second Amended Complaint to reassert her claims for negligence against the Hospital Defendants.

Pursuant to Florida Rule of Civil Procedure 1.190(a), a copy of the proposed pleading is attached

hereto as Exhibit 4.

       WHEREFORE, Plaintiff respectfully requests that this Court enter an Order granting

Plaintiff leave to file a Second Amended Complaint and grant such other and further relief that the

Court deems just and proper.

DATED: November 26, 2024                             Respectfully submitted,

                                                     MARK MIGDAL & HAYDEN
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                                                     Miami, Florida 33130

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 26, 2024, a copy of the foregoing was

electronically filed through the Florida Courts E-Filing Portal which will send electronic

notification of the above filing to all registered users.

                                                            s/ Josh Midgal
                                                              Josh Migdal, Esq.




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                       IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                             IN AND FOR BROWARD COUNTY, FLORIDA

                 CASE NO. CACE23020810 DIVISION: 26           JUDGE: Phillips, Carol-Lisa (26)

      TIANA ENNIX

      Plaintiff(s) / Petitioner(s)

      v.

      PLANTATION GENERAL HOSPITAL LP, et al

      Defendant(s) / Respondent(s)

      ____________________________/

           ORDER ON DEFENDANTS PLANTATION GENERAL HOSPITAL, L.P. AND HCA
                        HEALTHCARE, INC.'S MOTION TO DISMISS

      The court having reviewed the motion, the amended complaint, the response, heard argument,
      and considered the applicable case law, it is hereby Ordered as follows:

      Granted, the court finds the allegations sound in medical malpractice and are subject to Fla. Stat.
      766.106's pre-suit requirement. The defendants are dismissed without prejudice.



      DONE AND ORDERED in Chambers at Broward County, Florida on 13th day of September, 2024.



                                                                   CACE23020810 09-13-2024 11:57 AM
                                                                     Hon. Carol-Lisa Phillips
                                                                     CIRCUIT COURT JUDGE
                                                               Electronically Signed by Carol-Lisa Phillips

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                                                                       Case Number: CACE23020810




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    EXHIBIT 2
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 24-cv-61702-RAR

   TIANA ENNIX, on her own behalf
   and as representative of the estate of
   IYIANA JOY MCLEOD, Deceased,

          Plaintiff,

   v.

   ABBOTT LABORATORIES,

         Defendant.
   _______________________________________/

                  ORDER GRANTING PLAINTIFF’S MOTION TO REMAND

          THIS CAUSE comes before the Court upon Plaintiff’s Motion to Remand, [ECF No. 9]

   (“Motion”), filed on September 17, 2024. Having reviewed the Motion; Defendant’s Response,

   (“Response”), [ECF No. 17]; Plaintiff’s Reply, (“Reply”), [ECF No. 18]; and being otherwise fully

   advised, it is hereby

          ORDERED AND ADJUDGED that the Motion is GRANTED as set forth herein.

                                            BACKGROUND

          Tianna Ennix brings this suit on her own behalf and on behalf of her deceased infant, Iyiana

   Joy Mcleod. Mot. at 9. Iyiana was born prematurely in 2019 at a hospital owned and operated by

   Plantation General Hospital, L.P. and HCA Healthcare, Inc (“Hospital Defendants”) in Broward

   County, Florida. Id. Iyiana was given a cow’s milk infant nutrition product at the hospital,

   developed a condition called necrotizing enterocolitis, and subsequently died at 30 days old. Id.

          On November 7, 2023, Ennix filed a complaint in the Circuit Court of the Seventeenth

   Judicial Circuit of Broward County, Florida. See Notice of Removal at 1, [ECF No. 1]. Ennix

   asserted claims against Abbott for strict liability design defect, strict liability, failure to warn,
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   negligence, intentional misrepresentation, negligent misrepresentation, constructive fraud, and

   violation of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). See Mot. at 3;

   Ex. A, [ECF No. 9-1]. Ennix also asserted a FDUTPA claim against the Hospital Defendants. Id.

          The state court dismissed the FDUPTA claims, and on May 31, 2024, Ennix filed an

   amended complaint, which asserted claims for corporate negligence and violation of Fla. Stat.

   § 766.110 against the Hospital Defendants. See Mot. at 4; Ex. B, [ECF No. 9-2]. The Hospital

   Defendants moved to dismiss the amended complaint, arguing that Ennix’s claim sounded in

   medical malpractice, and as such, her failure to provide pre-suit notice under Florida law warranted

   dismissal. See Mot. at 4–5. The state court agreed, and on September 13, 2024, granted the motion

   to dismiss, explaining that: “[T]he court finds the allegations sound in medical malpractice and are

   subject to Fla. Stat. [§] 766.106’s pre-suit requirement. The defendants are dismissed without

   prejudice.”   See [ECF No. 18-2].       Within twenty-four hours, Abbott—the sole remaining

   defendant—removed the action to federal court. See Notice of Removal, [ECF No. 1].

                                         LEGAL STANDARD

          A state court action may be removed to federal court when the federal courts have diversity

   or federal question jurisdiction. Henderson v. Wash. Nat’l Ins. Co., 454 F.3d 1278, 1281 (11th

   Cir. 2006) (citing 28 U.S.C. § 1441(a)). The removing party “bears the burden of proving that this

   Court has federal jurisdiction” and “establishing compliance with removal statute requirements.”

   Moultrop v. GEICO Gen. Ins. Co., 858 F. Supp. 2d 1342, 1344 (S.D. Fla. 2012); see also Beard v.

   Lehman Bros. Holdings, Inc., 458 F. Supp. 2d 1314, 1317–1318 (M.D. Ala. 2006) (“Where a

   plaintiff challenges the suitability of a defendant’s removal petition, the burden of confirming that

   removal was proper falls upon the defendant . . . .”). Federal courts are directed to construe




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   removal statutes strictly, and accordingly, “all doubts about jurisdiction should be resolved in favor

   of remand to state court.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999).

           “When a case is removed based on diversity jurisdiction . . . the case must be remanded to

   state court if there is not complete diversity between the parties.” Stillwell v. Allstate Ins. Co., 663

   F.3d 1329, 1332 (11th Cir. 2011). Moreover, “only a voluntary act by the plaintiff may convert a

   non-removable case into a removable one”—known as the voluntary-involuntary rule. Pretka v.

   Kolter City Plaza II, Inc., 608 F.3d 744, 761 (11th Cir. 2010). The voluntary-involuntary rule

   states that “an initially non-removable case cannot be converted into a removable one by evidence

   of the defendant or by an order of the court.” Id. (internal citations omitted). Ergo, a case which

   only achieves complete diversity between the parties by an action of the defendant or an order of

   the court is not removable. See Insinga v. LaBella, 845 F.2d 249, 252 (11th Cir. 1988) (explaining

   that “if the dismissal was the result of either the defendant’s or the court’s action against the wish

   of the plaintiff, the case could not be removed”) (internal citations omitted).

           There is an exception to the voluntary-involuntary rule: fraudulent joinder. “When a

   plaintiff names a non-diverse defendant solely in order to defeat federal diversity jurisdiction,” the

   joinder is fraudulent. Henderson, 454 F.3d at 1281. “To establish fraudulent joinder, ‘the

   removing party has the burden of proving [by clear and convincing evidence] that either: (1) there

   is no possibility the plaintiff can establish a cause of action against the resident defendant; or (2)

   the plaintiff has fraudulently pled jurisdictional facts to bring the resident defendant into state

   court.’” Stillwell, 663 F.3d at 1332 (quoting Crowe v. Coleman, 113 F.3d 1536, 1538 (11th Cir.

   1997) (alterations in original)). This burden is “a heavy one” because the standard by which a

   district court reviews assertions of fraudulent joinder is “a lax one.” Id. at 1332–33.

           Specifically, “[t]his standard differs from the standard applicable to a 12(b)(6) motion to

   dismiss” because “[i]n making this determination, federal courts are not to weigh the merits of a


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   plaintiff’s claim beyond determining whether it is an arguable one under state law.” Id. at 1333.

   Accordingly, “[i]f there is even a possibility that a state court would find that the complaint states

   a cause of action against any one of the resident defendants, the federal court must find that the

   joinder was proper and remand the case to the state court.” Coker v. Amoco Oil Co., 709 F.2d

   1433, 1440–41 (11th Cir. 1983), superseded by statute on other grounds as stated in Georgetown

   Manor, Inc. v. Ethan Allen, Inc., 991 F.2d 1533, 1539–40 (11th Cir. 1993) (emphasis added).

   However, “when a plaintiff names a non-diverse defendant solely to defeat federal diversity

   jurisdiction, the district court must ignore the presence of the non-diverse defendant and deny any

   motion to remand the case to state court.” Kimball v. Better Bus. Bureau of W. Fla., 613 F. App’x

   821, 823 (11th Cir. 2015).

           With these factors in mind, the Court must determine whether it has jurisdiction over

   Plaintiff’s claims.

                                               ANALYSIS

           In her Motion, Ennix asserts removal was improper because it violates the voluntary-

   involuntary rule given that the action only became removable when the state court dismissed the

   Hospital Defendants without prejudice. Mot. at 5–9. Ennix further asserts that none of the

   exceptions to the voluntary-involuntary rule apply and that Abbott’s removal is solely to cause

   delay, which Ennix argues should warrant an award of attorney’s fees and costs. Mot. at 9–13.

   Abbott counters that removal was not improper because joinder of the Hospital Defendants was

   fraudulent, and rather than cause delay, Abbott merely seeks to bring this action to the Northern

   District of Illinois for coordinated proceedings in an ongoing MDL—as such, it was not objectively

   unreasonable to remove the action and an award of attorney’s fees is therefore unwarranted. See

   generally Resp. In reply, Ennix maintains the voluntary-involuntary rule precludes removal,




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   asserts there was no fraudulent joinder, maintains that Abbott’s removal is untimely, 1 and expands

   on her request for an award of attorney’s fees and costs. See generally Reply.

           As an initial matter, it is undisputed that the voluntary-involuntary rule applies to this action

   because the state court’s order dismissing the Hospital Defendants resulted in complete diversity.

   Accordingly, the instant dispute is whether the rule requires remand—or whether the joinder was

   fraudulent such that removal is appropriate.

           I. Fraudulent Joinder

           The Eleventh Circuit has made clear that the standard under which a district court reviews

   an assertion of fraudulent joinder is not stringent, see Stillwell, 663 F.3d at 1333–34, and the burden

   on defendants to make such an assertion plausible is a heavy one, see id. at 1332–33. Fraudulent

   joinder can be established by asserting either: that there is no possibility that the claim against the

   resident defendant established a cause of action, or that the plaintiff fraudulently pled jurisdictional

   facts. See Crowe, 113 F.3d at 1538. But “[w]here a plaintiff states even a colorable claim against

   the resident defendant, joinder is proper and the case should be remanded to state court.” Pacheco

   de Perez v. AT & T Co., 139 F.3d 1368, 1380 (11th Cir. 1998). So, “if there is any possibility that

   the state law might impose liability on a resident defendant under the circumstances alleged in the

   complaint, the federal court cannot find that joinder of the resident defendant was fraudulent, and

   remand is necessary.” Florence v. Crescent Res., LLC, 484 F.3d 1293, 1299 (11th Cir. 2007).

           Here, Abbott primarily relies on the fact that the state court has dismissed both of Ennix’s

   operative complaints in asserting that there was no possible cause of action pled. See Resp. at 6–

   7. There is no allegation that Ennix fraudulently pled jurisdictional facts. Abbott argues that the


   1
     Because Ennix does not meaningfully raise an argument about the timeliness of removal in her opening
   Motion for Remand, this argument is waived and is not properly before this Court. See United States v.
   Oakley, 744 F.2d 1553, 1556 (11th Cir. 1984) (“Arguments raised for the first time in a reply brief are not
   properly before the reviewing court.”); In re Egidi, 571 F.3d 1156, 1163 (11th Cir. 2009) (“Arguments not
   properly presented in a party’s initial brief or raised for the first time in the reply brief are deemed waived.”).

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   state court’s disposition on each of those motions to dismiss is dispositive on the issue of fraudulent

   joinder. Id. at 5–6. This argument is unavailing—and nearly frivolous—for several reasons.

          Starting with the second motion to dismiss, Abbott states that “the state court definitively

   concluded that plaintiff twice failed to state a cause of action against the Hospital Defendants.”

   Id. at 6. This assertion, at least as to the second motion to dismiss, is patently false. The state

   court said “the court finds the allegations sound in medical malpractice and are subject to Fla. Stat.

   [§] 766.106’s pre-suit requirement. The defendants are dismissed without prejudice.” See [ECF

   No. 18-2]. The state court did not say that Ennix failed to state a claim or that it was “meritless”

   as Abbott claims it did; indeed, the court did not definitively conclude anything—except that Ennix

   failed to provide pre-suit notice. See Resp. at 7. That is a procedural requirement, not a substantive

   one, and to claim that the state court concluded anything at all about the merits beggars belief.

          Second, Abbott’s representations about the law are misguided and incomplete. Abbott

   relies on a non-binding case from 1989 that posits a two-prong system of review for assessing

   claims of fraudulent joinder that is deferential to state courts. Resp. at 5–6; see also Katz v. Costa

   Armatori, S.p.A., 718 F. Supp. 1508 (S.D. Fla. 1989). Such reliance would be all well and good,

   if courts had ceased to create caselaw the year Taylor Swift was born. But unfortunately for

   Abbott, that did not happen. One court in particular—the Eleventh Circuit—whose rulings notably

   bind this Court, has ruled on issues related to fraudulent joinder. See Stillwell, 663 F.3d at 1332–

   35. Abbott cites to two Eleventh Circuit cases but fails to apply them in any way in asserting that

   removal was proper.

          Moreover, Abbott’s application of Katz is misleading. Katz does set out a two-prong

   system that begins in the first prong with the mechanics of Rule 12(b)(6) and a review of the

   complaint under state law. Katz, 718 F. Supp. at 1515. Abbott relies on the Katz court’s statement

   that “If the state court has denied a motion to dismiss because the complaint stated a cause of


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   action, and that state’s law is controlling, the federal court, out of deference to the state court,

   should consider the state court ruling as satisfying this first prong,” to state boldly that a state

   court’s grant of a motion to dismiss dispositively answers whether a claim had merit. Id.; see also

   Resp. at 6. Even if a grant of a motion to dismiss on substantive grounds dispositively proved

   fraudulent joinder (it does not), it would be quite difficult to imagine how it could be dispositive

   on a dismissal without prejudice based on a procedural error, as is the case here. See, e.g., Triggs

   v. John Crump Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998) (“The plaintiff need not have a

   winning case against the allegedly fraudulent defendant; he need only have a possibility of stating

   a valid cause of action in order for the joinder to be legitimate.”).

          Even more, Abbott merely mentions the second prong—which states that “the court must

   determine whether the plaintiff’s attorney has satisfied the ‘continuing duty’ obligation of not

   maintaining a frivolous suit”—without applying it. Katz, 718 F. Supp. at 1515; see also Resp. at

   6. There is no discussion of the continuing duty obligation. Instead, Abbott conclusorily states

   that a review of the record and the two dismissals “confirms that plaintiff’s claims against those

   Defendants have always been frivolous”—a broad and unsupported assertion. Resp. at 6.

          Abbott also attempts to shift the burden to Ennix to prove the joinder was not fraudulent:

   “She does not even attempt to argue that she currently has a viable claim against the Hospital

   Defendants in light of her failure to provide the presuit notice required under Florida law.” Resp.

   at 7. Abbott feels this failure on Ennix’s part should be dispositive, having seemingly forgotten

   that Abbott is the one that bears the burden of proving both that removal is proper and that the

   voluntary-involuntary rule does not apply because of fraudulent joinder. See Stillwell, 663 F.3d at

   1332–35. Ennix does not bear the burden. See, e.g., Ullah v. BAC Home Loans Servicing LP, 538

   F. App’x 844, 846 (11th Cir. 2013) (“The standard for evaluating whether the plaintiff can establish

   a cause of action against the resident defendant is very lenient: ‘federal courts are not to weigh the


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   merits of a plaintiff’s claim beyond determining whether it is an arguable one under state law.’”)

   (citing Stillwell, 663 F.3d at 1333).

          Lastly, “[i]n determining whether a possibility exists that the plaintiff could state a claim

   against the resident defendant, [the Court] look[s] ‘to the pleading standards applicable in state

   court, not the plausibility pleading standards prevailing in federal court.’” Hunt v. Nationstar

   Mortg., LLC, 684 F. App’x 938, 942 (11th Cir. 2017) (citing Stillwell, 663 F.3d at 1334). And

   “[u]nder Florida’s pleading standards, Plaintiffs merely had ‘to state a case showing a legal

   liability.’” SFM Holdings, Ltd. v. Fisher, 465 F. App’x 820, 821 (11th Cir. 2012) (quoting

   Messana v. Maule Indus., 50 So. 2d 874, 876 (Fla. 1951)). Here, Ennix could achieve that by

   “alleging the requisite elements of a cause of action and pleading factual matter sufficient to

   apprise Plaintiffs’ adversary of what the adversary is called upon to answer.” Id. (cleaned up).

          In Florida, “[t]he elements of a medical malpractice action are: (1) a duty by the physician,

   (2) a breach of that duty, and (3) causation.” Saunders v. Dickens, 151 So. 3d 434, 441 (Fla. 2014).

   Notably, Abbott does not even mention the elements of medical malpractice under Florida law in

   its brief. However, Ennix fills that gap and explains in her Reply that in the amended complaint

   she alleges that:

                  (1) the Hospital Defendants owed Plaintiff’s daughter a duty of care;
                  (2) the Hospital Defendants breached that duty by failing to
                  implement policies and procedures that would have prevented the
                  Hospital Defendants from facilitating Abbott’s marketing scheme to
                  foist its products on unsuspecting parents; and (3) the Hospital
                  Defendants’ breach of their duty caused Plaintiff’s daughter to be
                  exposed to Abbott’s products, develop NEC, and pass away at thirty
                  days old.

   Reply at 6–7. Having reviewed this set of allegations—without assessing the merits as federal

   courts at this stage must—“[i]t is [] more than possible that a Florida state court would have

   concluded that Plaintiffs stated a cause of action.” SFM Holdings, Ltd., 465 F. App’x at 821; see



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   also Crowe, 113 F.3d at 1538 (“[F]ederal courts are not to weigh the merits of a plaintiff’s claim

   beyond determining whether it is an arguable one under state law.”).

          In sum, Abbott has not met its burden of proving that removal is proper or that Ennix’s

   joinder was fraudulent. At no point does Abbott explain how Ennix’s medical malpractice claim

   against the Hospital Defendants could not plausibly state a valid cause of action. Cf., e.g.,

   Illoominate Media, Inc. v. CAIR Fla., Inc., 841 F. App’x 132, 135 (11th Cir. 2020) (explaining

   that “[t]he defendants, for their part, provided several sworn statements to buttress their claims that

   CAIR-Florida was fraudulently joined” to meet their burden of proving fraudulent joinder).

   Instead, Abbott primarily asserts that a procedural error creates a meritless claim. Resp. at 6–7.

   And although Abbott posits that it had “identified three other independent bases for dismissal”

   before the state court, id. at 7, Abbott fails to explain what those arguments are or why it is

   inevitable that Ennix’s claims against the Hospital Defendants will be dismissed once the pre-suit

   notice requirement is satisfied under Florida law. Accordingly, because “defendants failed to show

   that the plaintiffs cannot state an arguable cause of action against the resident defendants,” this

   Court “cannot say that the [Hospital] [D]efendants were fraudulently joined.” Pacheco de Perez,

   139 F.3d at 1381.

          II. Attorneys’ Fees and Costs

          Ennix requests attorneys’ fees and costs associated with Abbott’s removal. Mot. at 13.

   The federal removal statute, 28 U.S.C. § 1447(c), provides that “[a]n order remanding the case

   may require payment of just costs and any actual expenses including attorney fees, incurred as a

   result of the removal.” Awarding attorneys’ fees and costs is a matter of discretion and dependent

   on whether the removing party “lacked an objectively reasonable basis for seeking removal.” See

   Martin v. Franklin Cap. Corp., 546 U.S. 132, 139 (2005). Here, though there are certainly issues

   with Abbott’s removal of this action, it was not objectively unreasonable to do so. Compare


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   Imperial Fund I, LLC v. Orukotan, No. 21- 60162, 2021 WL 752577 (S.D. Fla. Feb. 25, 2021)

   (granting fees where every argument ran afoul of clearly established precedent) with 2550 Retail

   LLC v. Mt. Hawley Ins. Co., No. 23- 22701, 2023 WL 11879557 (S.D. Fla. Oct. 18, 2023) (denying

   request for attorney’s fees and remanding where no fraudulent joinder was found). Accordingly,

   the request for attorneys’ fees and costs is DENIED.

                                          CONCLUSION

          Based upon the foregoing, it is hereby ORDERED AND ADJUDGED that Plaintiff’s

   Motion to Remand, [ECF No. 9], is GRANTED. This case is hereby REMANDED to the Circuit

   Court of the Seventeenth Judicial Circuit in and for Broward County, Florida.         Plaintiff’s

   accompanying Motion for Attorneys’ Fees and Costs is DENIED. The Clerk of Court is

   DIRECTED to forward a copy of this Order to the Circuit Court of the Seventeenth Judicial

   Circuit in and for Broward County, Florida. The Clerk of Court is directed to CLOSE this case.

   All pending motions are DENIED AS MOOT.

          DONE AND ORDERED in Miami, Florida this 10th day of October, 2024.




                                                          _________________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE




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    EXHIBIT 4
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                    IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                         IN AND FOR BROWARD COUNTY, FLORIDA

                                   CASE NO.: 2023CA020810AXXXCE

 TIANA ENNIX, on her own behalf
 and as representative of the estate of
 IYIANA JOY MCLEOD, Deceased

                Plaintiff

   vs.

 PLANTATION GENERAL HOSPITAL, L.P.,
 HCA HEALTHCARE, INC., and ABBOTT
 LABORATORIES

          Defendants.
___________________________________/

                                    SECOND AMENDED COMPLAINT

         Plaintiff Tiana Ennix, on her own behalf and as Representative of the Estate of Iyiana Joy

Mcleod, deceased (“Plaintiff”), brings this Complaint and Demand for Jury Trial (the

“Complaint”) against Plantation General Hospital, L.P. (d/b/a Plantation General Hospital) and

HCA Healthcare, Inc. (collectively “Hospital Defendants”) and Abbott Laboratories (“Abbott” and

collectively with the Hospital Defendants, “Defendants”). Plaintiff alleges the following upon

personal knowledge as to Plaintiff’s own acts and experiences and upon information and belief,

including an investigation conducted by Plaintiff’s attorneys, as to all other matters.

                                                INTRODUCTION

         1.       This case is about the devastating effects of prioritizing corporate profits over the

health of our most vulnerable population – preterm infants. Abbott, together with Hospital

Defendants, foist infant formula on unsuspecting parents and their newborns without bothering to

warn them that it can cause necrotizing enterocolitis (“NEC”), a life-altering and potentially fatal



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disease that largely affects preterm babies who ingest cow’s milk based preterm infant feeding

products rather than safer alternatives.

           2.   The symbiosis between Abbott and Hospital Defendants is brutally transactional.

Motivated by profits, Abbott enters into agreements with hospitals to provide their commercial

formula to newborns. The parents of these newborns reasonably believe that the commercial

formula manufactured by Abbott and then provided by Hospital Defendants is necessary for the

health and well-being of preterm infants. The Hospital Defendants’ early provision of this formula

to these newborns gives Abbott a foothold with new parents, acquiring a customer base and

obtaining the benefit of that base with years of brand loyalty. But the hospitals and Abbott never

disclose that the formula is being provided pursuant to mutually beneficial agreements between

the hospitals and Abbott, agreements that require a Hospital to feed the commercial formula

products to nearly every one of the in-Hospital babies consuming infant formula products.

           3.   Plaintiff seeks recovery from the Defendants for injuries that are the direct and

proximate result of Iyiana’s consumption of the Abbott’s unreasonably dangerous cow’s milk

based preterm infant feeding products, which was acquired and supplied without adequate warning

to Plaintiff.

           4.   Plaintiff has complied with the notice requirements pursuant to Florida Statute §

768.28 and all statutory medical malpractice requirements pursuant to Florida Statute § 766.106

et. seq.

           5.   Additionally, all other conditions precedent to bringing or maintaining this action

have occurred, have been waived or were performed. The undersigned certifies that a reasonable

investigation has been made to the extent permitted by the circumstances and the investigation

supports the belief that grounds exist for the subject action.




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                                                      PARTIES

           6.       Plaintiff Tiana Ennix is a natural person and a resident of Florida. Ms. Ennix brings

this suit in her personal capacity and as Representative of the Estate of Iyiana Joy Mcleod.

           7.       Defendant Plantation General Hospital, L.P. is a private hospital organized to do

business under the laws of the State of Delaware and registered to do business in Florida. Plantation

General Hospital, L.P. held itself out to the public as being an entity duly licensed under the laws

of Florida to provide health care. Its principal place of business is in Tennessee.

           8.       Upon information and belief, Defendant Plantation General Hospital was an Abbott

exclusive facility during the period that Plaintiff’s child, Iyiana, was treated in the NICU.

           9.       Defendant HCA Healthcare, Inc. (“HCA”) is organized to do business under the

laws of the State of Delaware and registered to do business in Florida. Its principal place of

business is in Nashville, Tennessee and it owned and operated Plantation General Hospital in

Plantation, Florida during the relevant period.

           10.      HCA is a leading provider of healthcare services comprised of 182 hospitals and

2,300+ sites in 20 states and the United Kingdom. 1 Defendant HCA owns and operates fourteen

(14) NICUs in Florida and represents that it is heavily concentrated in Florida and Texas. 2

           11.      Upon information and believe, HCA is directly responsible for negotiating

contracts with Abbott, creating policies, and otherwise regulating the types of formula products

that can be given to preterm infants at HCA’s NICUs, including Plantation General Hospital.

           12.      Upon information and belief, at all times material hereto, HCA has been and will

continue to be an Abbott exclusive healthcare provider. In exchange for HCA’s contractual

commitments to Abbott, Hospital Defendants receive price discounts on formula and other related


1
    https://hcahealthcare.com/about/ (last accessed 10/24/2023)
2
    https://www.hcafloridahealthcare.com/specialties/nicu (last accessed 10/24/2023)


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NICU products.

        13.     Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the

laws of the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer

of cow’s milk-based infant feeding products and markets many of its products under the “Similac”

brand name.

                                   JURISDICTION AND VENUE

        14.     The circuit court has jurisdiction under Fla. Stat. Section 26.012(2)(c). Plaintiff

seeks damages in excess of $750,000, and this action involves complex legal and case management

issues which require extensive judicial management, as contemplated by Rule 1.201(a), Florida

Rules of Civil Procedure.

        15.     Defendants have sufficient minimum contacts with and purposefully avail

themselves of the markets of the State of Florida. This suit arises out of Defendants’ forum-related

activities, such that the Court’s exercise of jurisdiction would be consistent with traditional notions

of fair play and substantial justice.

        16.     Venue is proper in this Court pursuant to Fla. Stat. §§ 47.011, 47.041, and 47.051,

because Defendants are corporations or similar entities that regularly conduct business in Broward

County, which is also the county where Plaintiff’s causes of action arose, and the county where

the occurrences took place out of which Plaintiff’s causes of action arose, including, but not limited

to, the location of the acts and omissions related to the aforementioned Hospital agreements.




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                                     FACT ALLEGATIONS

  I.   Iyiana’s NEC Diagnosis

       17.     Iyiana was born prematurely at Hospital Defendants on July 7, 2019.

       18.     Despite Iyiana’s gestational weight and age, Iyiana was fed cow’s milk based

preterm infant feeding products by staff at Hospital Defendants shortly after her birth.

       19.     Shortly after Iyiana first ingested the Abbott’s products, she developed NEC.

       20.     At no point prior to Iyiana ingesting Abbott’s products did any of the Defendants

inform Iyiana’s caregivers regarding the risk of NEC that the cow’s milk-based formula products

pose or the relationship between Abbott and Hospital Defendants regarding Abbott’s cow’s milk-

based preterm products.

       21.     Iyiana was forced to undergo surgery and ultimately succumbed to her injuries,

passing away on August 6, 2019.

 II.   Cow’s Milk-Based Preterm Feeding Products Are Known To Cause NEC

       22.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal

disorder affecting preterm infants. NEC develops when harmful bacteria breach the walls of the

intestine, causing portions of the intestine to become inflamed and often to die. Once NEC

develops, the condition can progress rapidly from mild feeding intolerance to systemic and fatal

sepsis. Up to 30 percent of NEC-diagnosed infants die from the disease.

       23.     Preterm and low-birth-weight infants are especially susceptible to NEC because of

their underdeveloped digestive systems. Extensive scientific research, including numerous

randomized controlled trials, has confirmed that cow’s milk-based preterm feeding products cause

NEC in preterm and low-birth-weight infants, which in turn may lead to other medical

complications, surgeries, long-term health problems, and death.




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        24.    For example, in one randomized, multicenter study of 926 preterm infants, NEC

was six to ten times more common in exclusively cow’s milk formula-fed babies than in

exclusively breast milk-fed babies and three times more common in babies who received a

combination of formula and breast milk. For babies born at more than thirty weeks gestation, NEC

was 20 times more common in those only fed cow’s milk formula than in those fed breast milk.

        25.    Another randomized controlled trial showed that preterm babies fed an exclusive

breast milk-based diet were 90% less likely to develop surgical NEC (NEC that requires surgical

treatment), compared to preterm babies fed a diet that included some commercial cow’s milk-

based preterm infant feeding products.

        26.    Yet another study that analyzed the data from a 12-center randomized trial

concluded that fortification of breast milk with a cow’s milk-based fortifier resulted in a 4.2-fold

increased risk of NEC and a 5.1-fold increased risk of surgical NEC or death, compared to

fortification with a breast milk-based fortifier.

        27.    A Surgeon General report, The Surgeon General’s Call to Action to Support

Breastfeeding, warns that, “for vulnerable premature infants, formula feeding is associated with

higher rates of necrotizing enterocolitis.” The report also states that premature infants who are not

breastfed are 138% more likely to develop NEC.

        28.    The American Academy of Pediatrics, “an organization of 67,000 pediatricians

committed to the optimal physical, mental, and social health and well-being for all infants,

children, adolescents, and young adults,” has advised that all premature infants should be fed either

their mother’s milk or, if their mother’s milk is unavailable, pasteurized human donor milk. This

recommendation is based on the “potent benefits of human milk,” including “lower rates of . . .

NEC.”




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       29.     A multicenter, randomized, controlled trial found that premature and low-birth-

weight infants fed an exclusive breast milk-based diet suffered NEC only 3% of the time while

premature and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of

the time.

       30.     Another study conducted a randomized comparison of extremely preterm infants

who were given either (a) a diet of breast milk fortified with a breast milk-based fortifier or (b) a

diet containing variable amounts of cow’s milk-based products. The babies given exclusively

breast milk products suffered NEC 5% of the time. The babies given cow’s milk products suffered

NEC 17% of the time.

III.   Safer, Nutritionally Superior Alternatives to Cow’s Milk-Based Products Exist

       31.     A range of options are available that allow preterm and low-birth-weight infants to

be fed exclusively human milk-based nutrition. For example, in addition to the mother’s own milk,

an established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

       32.     A diet based exclusively on breast milk and human-milk based formulas and

fortifiers provides all the nutrition necessary to support premature and low-birth-weight infants,

and without the elevated risk of NEC associated with cow’s milk-based commercial preterm

products. For example, in a study analyzing preterm infants who were fed an exclusive breast milk-

based diet until they reached 34 weeks, all 104 infants exceeded standard growth targets and met

length and head-circumference growth targets, demonstrating that infants can achieve and exceed

targeted growth standards when receiving an exclusive breast milk-based diet. This is particularly

true given the ability of breast milk-based fortifiers to provide nutritional supplements where

necessary for additional growth.




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       33.     Abbott’s products not only pose a threat to infants’ health, but also displace the

breast milk they could otherwise receive. This displacement only increases infants’ vulnerability

to NEC, as studies show that breast milk protects against the disease. For example, a study

analyzing 1,587 infants across multiple institutions concluded that an exclusive breast milk-based

diet is associated with significant benefits for extremely premature infants and that it produced no

feeding-related adverse outcomes.

       34.     For the above reasons, experts acknowledge that breast milk is the best source of

nutrition for preterm infants and those at risk for NEC. Breast milk-based nutrition nourishes

infants while creating a significantly lower risk of NEC.

       35.     At the time Iyiana was fed Abbott’s products at the Hospital Defendants, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC, leading to severe injury and often death.

       36.     Despite the scientific consensus that Abbott’s cow’s milk-based preterm products

present a dire threat to the health and development of preterm infants, Abbott has made no changes

to their products or the products’ packaging, guidelines, instructions, distribution, or warnings.

Instead, Abbott has continued to sell their unreasonably dangerous products to unsuspecting

parents and healthcare providers, generating huge profits as a result.


                                 Ms. Ennix Discovers Her Claim

       37.     Because of the Defendants’ concealment and misrepresentations, described more

fully herein, Ms. Ennix did not know, and had no reason to know or suspect, that Iyiana’s NEC

could have been caused by the Abbott’s products.

Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and Would Not Have
  Revealed a Factual Basis Earlier Because Abbott Hid the Cause of NEC from Ms. Ennix




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        38.       Despite exercising reasonable diligence, Ms. Ennix was unable to have made the

discovery earlier by way of a reasonable investigation because the Defendants in this litigation

concealed the wrongful cause of Iyiana’s injuries.

        39.       Amidst the physical and emotional trauma of preterm childbirth and having her

child in the neonatal intensive care unit, shortly after learning of her infant’s NEC diagnosis, Ms.

Ennix undertook an investigation into the cause of the NEC.

        40.       Hospital Defendants did not inform Ms. Ennix that Abbott’s formula products could

have caused her infant’s injuries.

        41.       Ms. Ennix is a layperson with no medical background or training that would have

given her any reason to doubt the information she received from her providers at the time.

        42.       Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling

or packaging of any of the Abbott’s products.

        43.       Abbott has worked to mislead parents into a false sense of security about the use of

those products. Publicly disseminated materials from Abbott disguise the role their products play

in causing the disease—and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.


IV.     Abbott’s False and Misleading Marketing Regarding Cow’s Milk Based Preterm Infant
        Products

        44.       Abbott has aggressively marketed their cow’s milk-based preterm products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to

Iyiana’s birth.

        45.       Abbott’s marketing approach includes targeting the parents of preterm infants while

they are still in the Hospital with messages that Defendants’ cow’s milk preterm formulas and


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fortifiers are necessary for the growth and development of their vulnerable children. Often these

tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s supply of

breast milk. None of Abbott’s marketing materials, including their promotional websites, reference

the science showing how significantly their products increase the risk of NEC.

        46.     Numerous studies have shown the detrimental impact of formula advertising on the

rates of initiation and continuation of breastfeeding, including studies that show that as “hand

feeding” (non-breastfeeding) advertisements increase, reported breastfeeding rates decrease in the

following year.

        47.     Undoubtedly aware of the impact of their advertising, Abbott, along with other

formula manufacturers, are willing to spend massive sums to disseminate their message, with one

study estimating that formula manufacturers collectively spent $4.48 billion on marketing and

promotion in 2014 alone.

        48.     Recognizing the abuse and dangers of infant formula marketing, in 1981, the World

Health Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes (the “Code”), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

        49.     While Abbott acknowledges the Code on their websites and claims to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, Abbott aggressive marketing exploits new parents’ darkest fears—that the nutrition they




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are supplying to their child will not provide the best chance of survival—while wholly failing to

warn that their products come with a significantly increased risk of NEC.

       50.     For example, Abbott’s website, on a page titled “Infant Formula Marketing,” states:

“We agree with the World Health Organization that breastfeeding provides the best nutrition for

babies, and we support its goal to increase breastfeeding. We also recognize that for infants who

aren’t breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe

alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

       51.     Abbott markets and sells multiple products specifically targeting preterm and low-

birth-weight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby didn’t

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born prematurely,

and help support her development.” Yet, no mention was made of the accompanying significantly

increased risk of NEC. At some point, the website was edited to remove this statement. However,

upon information and belief, the statement remained on the website until at least December 2020.

       52.     When Abbott recognized a shift in the medical community towards an exclusive

breast milk-based diet for premature infants, Abbott developed “Similac Human Milk Fortifier.”

This name is misleading in that it suggests that the products are derived from breast milk, when,

in fact, they are cow’s milk-based preterm products. One study, for example, found that only 8.8




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percent of parents surveyed in the NICU interpreted “human milk fortifier” as potentially

meaning a cow’s milk-based product. The packaging appears as:




       53.     Abbott has designed powerful misleading marketing campaigns to deceive parents

into believing that: (1) cow’s milk-based preterm products are safe, including for preterm infants;

(2) cow’s milk-based preterm products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based preterm products are necessary for proper growth and development of preterm

infants; and (4) physicians consider Abbott’s cow’s milk-based preterm products to be a first

choice. This marketing scheme is employed despite Abbott knowing of and failing to warn of the

extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like Iyiana.

 V.    Abbott’s Inadequate Warnings

       54.     Although Abbott promotes an aggressive marketing campaign designed to convince

parents that its’ cow’s milk-based preterm products are safe and necessary for the growth of a

premature infant, the product is in fact extremely dangerous for premature infants. Similac

products significantly increase the chances of a premature infant developing potentially fatal NEC.

       55.     The Similac products Abbott markets specifically for premature infants are

commercially available at retail locations and online. No prescription is necessary.

       56.     Despite knowing of the risk of NEC, the packaging of Abbott’s products does not

warn of the significantly increased risk of NEC (and resulting medical conditions, and/or death)


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associated with Abbott’s products, or of the magnitude of this increased risk. Abbott likewise did

not provide instructions or guidance for how to avoid NEC.

       57.     Abbott cites no medical literature or research to guide the use of its products.

       58.     Despite knowing of the risk of NEC, Abbott did not warn of the significantly

increased risk of NEC (and resulting medical conditions, and/or death) associated with its products,

or of the magnitude of this increased risk. Abbott likewise did not provide instructions or guidance

for how to avoid NEC.

       59.     Abbott deceived the public, parents, physicians, other medical professionals, and

medical staff into believing that Similac products were a safe and necessary alternative,

supplement and/or substitute to breast milk.

       60.     Despite knowing that its products were being fed to premature infants, often

without the parents’ informed consent, Abbott failed to require or recommend that medical

professionals or hospitals inform parents of the significant risk of NEC or to require that parental

consent be obtained prior to the products being fed to their babies.

VI.    Safter Alternative Designs

       61.     Abbott’s cow’s milk-based preterm products made specifically for premature infants

are unreasonably unsafe for those infants. Abbott could have used pasteurized breast milk instead

of cow’s milk in their preterm products, which would have produced a safer product.

       62.     Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow’s milk. This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based preterm

products provide, without the same unreasonably dangerous and deadly effects.

       63.     On information and belief, Abbott was aware of the significantly increased

risk of NEC and death associated with their cow’s milk-based preterm products, and instead of


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warning of the dangers, or removing them altogether, Abbott has continued to use cow’s milk

as the foundation of their preterm products.

VII.   Abbott’s Agreement with Defendants HCA Healthcare, Inc. and Plantation General
       Hospital, L.P.

       64.     The sales funnel which drives Abbott’s profits begins at hospitals across the nation.

To drive the sales of cow’s milk-based preterm infant formula products, Abbott has concocted a

customer acquisition strategy to require hospitals to nearly exclusively provide their cow’s milk-

based preterm formula in exchange for a discount or free formula. Abbott has also been granted

access to their newest customers via agreements with the hospitals. Specifically, based on contracts

that hospitals enter with Abbott, hospitals give parents free or discounted formula, coupons, and

discharge kits while they are still on premises.

       65.     Through this early targeting, Abbott creates brand loyalty under the guise of a

“medical blessing,” knowing that new parents are highly likely to continue to use the same brand

formula after they leave the hospital. This practice has been shown to negatively impact

breastfeeding rates, even though Defendants will admit that a mother’s own milk is best for the

preterm infant. But the health of the newborn is not the concern; rather, Abbott seeks to drive

customer acquisition and secure preterm discharge wins by working with Hospital Defendants to

get their product to Hospital Defendants’ most vulnerable patients.

       66.     On information and belief, Hospital Defendants have received Abbott’s cow’s

milk-based products for free or at a significant discount, and have granted Abbott’s sales

representatives access to its healthcare professionals and medical staff. These sales representatives

have provided deceptive information that Hospital Defendants reasonably knew or should have

known both (1) was untrue, and (2) would ultimately reach parents through those staff. Hospital




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Defendants agree to facilitate Abbott’s marketing scheme in exchange for free or discounted

products.

       67.      Hospital Defendants conceal that they enter into these cost-cutting agreements with

Abbott, conceal that their staff receive “training” from Abbott, and conceal that the commercial

preterm products provided by Hospital Defendants were acquired through these sweetheart

agreements in exchange for access and sway via these trainings.

       68.      This concealment results in an unsuspecting and likely sleep-deprived parent

receiving the impression that the formula has a medical blessing.

       69.      Hospital Defendants facilitate this sales strategy with knowledge that feeding these

cow’s milk-based products can cause NEC in premature infants who otherwise would not have

developed this devastating condition.

                                    COUNT I: NEGLIGENCE
                                  (Against Hospital Defendants)

       70.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       71.      Hospital Defendants owe a duty to their patients to be responsible for their care.

       72.      Hospital Defendants breached that duty by placing their financial interest first and

entering into agreements with Abbott that require Hospital Defendants to provide Abbott’s cow’s

milk-based preterm formula to its patients.

       73.      Hospital Defendants also breached that duty by knowingly authorizing Abbott sales

representatives to market, advertise, distribute, and/or sell their products at the Hospitals. These

interactions provided the Abbott’s sales representatives an opportunity to co-opt the Hospital

Defendants’ healthcare professionals and medical staff into assisting with the marketing,

distribution, and/or sales of Abbott’s unreasonably dangerous products, including but not limited



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to by:

         a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

            restricted the use of cow’s milk-based products for feeding premature babies; and/or

         b. Failing to formulate, adopt, and enforce adequate rules and policies that warned

            Plaintiff that cow’s milk-based products significantly increase the risk of NEC,

            severe injury, and death in premature babies, like Plaintiff’s daughter; and/or

         c. Failing to formulate, adopt, and enforce adequate rules and policies that warned

            their healthcare professionals and medical staff that cow’s milk-based products are

            unsafe and/or contraindicated for premature babies like Plaintiff’s daughter; and/or

         d. Failing to formulate, adopt, and enforce adequate rules and policies to instruct their

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed Abbott’s products, notwithstanding their substantial risk;

            and/or

         e. Failing to formulate, adopt, and enforce adequate rules and policies to provide their

            healthcare professionals and medical staff with the well-researched and well-

            established studies that link cow’s milk-based products to NEC and death in

            premature infants; and/or

         f. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

            warning in a method reasonably calculated/expected to reach the parents of

            newborns, like Plaintiff; and/or

         g. Failing to formulate, adopt, and enforce adequate rules and policies to prevent

            Abbott’s sales representative from misrepresenting to Defendant Hospitals’




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                healthcare professionals and medical staff that premature babies would not grow

                adequately with human milk and human milk products and that use of donor milk

                was not advised for premature infants; and/or

             h. Failing to establish a donor milk program that was sufficient to meet the needs of

                premature babies, like Plaintiff’s daughter.

       74.      Hospital Defendants knew or reasonably should have known at the time that they

formulated, adopted, and enforced their rules for the acquisition, distribution, and supply of

Abbott’s cow’s milk based infant products, including access afforded to Abbott’s sales

representatives, that these products significantly increased the risk of NEC, serious injury, and

death for premature infants.

       75.      Hospital Defendants knew or reasonably should have known that their medical

professionals and the parents of premature infants, including the Plaintiff, would not have realized

the risks associated with feeding cow’s milk-based formula to premature infants.

       76.      Plaintiff’s daughter was fed Abbott’s cow’s milk-based preterm formula pursuant

to the agreement between Abbott and Defendant Hospitals.

       77.      A reasonable hospital under the same or similar circumstances would have

formulated, adopted, and enforced adequate policies related to the use of cow’s milk-based

products to premature babies, and rules to restrict the feeding of cow’s milk-based products to

premature babies, including developing an adequate donor milk program, instructing its healthcare

professionals and medical staff on the safe use of Abbot’s cow’s milk-based products, and

restricting the marketing of Abbott’s unreasonably dangerous products to its healthcare

professionals, medical staff, and parents of premature infants under its care.

       78.      Had Defendant Hospitals exercised reasonable care by satisfying their duty to




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formulate, adopt, and enforce adequate rules and policies to ensure the quality care of their patients,

Plaintiff’s daughter would not have been exposed to Abbott’s cow’s milk-based products.

       79.      As a direct and proximate result of Plaintiff’s daughter being fed the formula at the

Hospital Defendants’ NICU, she developed NEC which caused her injuries and death.

       80.      As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.


                    COUNT II: STRICT LIABILITY FOR DESIGN DEFECT
                                     (Against Abbott)

       81.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       82.      Abbott, as the manufacturer and/or seller of the products at issue in this litigation,

owed a duty to the consuming public in general, and Plaintiff in particular, to manufacture, sell,

and distribute their products in a manner that was not unreasonably dangerous.

       83.      Abbott also owed a duty to the consuming public in general, and Plaintiff in

particular, to manufacture, sell, and distribute their products in a manner that was merchantable

and reasonably suited for their intended use.

       84.      Abbott knew that their products would be used to feed premature infants like Iyiana

and knew (or reasonably should have known) that use of their cow’s milk-based preterm products

significantly increased the risk of NEC, serious injury, and death, and that such use was therefore

unreasonably dangerous to premature infants, not reasonably suited for the use intended, not

merchantable, and had risks that exceeded a reasonable buyer’s expectations. Nonetheless, they

continued to sell and market their defective products as appropriate for premature infants.

       85.      Plaintiff’s child ingested Abbott’s unreasonably dangerous cow’s milk-based

preterm products. The risks of feeding those products to Plaintiff’s child outweighed the benefits.


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An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

        86.     Abbott knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that Abbott’s products do.

        87.     Abbott’s products contained cow’s milk at the time they left the manufacturing

facility.

        88.     Abbott did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

        89.     Abbott’s products were fed to Iyiana, which directly and proximately caused her

NEC, surgery, and death.

        90.     As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.

                  COUNT III: STRICT LIABILITY FOR FAILURE TO WARN
                                     (Against Abbott)

        91.     Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

        92.     Abbott, as the manufacturer and/or seller of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and Plaintiff in particular, to provide

adequate warnings or instructions about the dangers and risks associated with the use of their

products with preterm infants, specifically including but not limited to the risk of NEC, serious

injury, and death.




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       93.     Abbott’s duty to warn is part of their general duty to design, manufacture,

and sell their infant products in a manner that is reasonably safe for their foreseeable uses. By

designing their products with cow’s milk-based ingredients, Abbott undertook a duty to warn of

the unreasonable risk of harm posed by those ingredients, specifically including the significantly

increased risk of NEC, severe injury, and death. The failure to warn makes the products at issue in

this litigation unreasonably dangerous.

       94.     Specifically, Abbott breached their duty to warn of the foreseeable risks of the

infant products at issue in this litigation because they knew or should have known that their cow’s

milk-based premature infant products would be fed to premature infants like Iyiana, and that their

products might cause those infants to develop NEC, severe injury, or death, yet failed to provide

adequate warnings of those risks. Among other risks, Abbott:

       a.      Failed to warn that cow’s milk-based preterm products significantly increase the

               risk of NEC, severe injury, and death in those babies; and/or

       b.      Failed to warn that cow’s milk-based preterm products are unsafe and/or

               contraindicated for premature infants like Iyiana; and/or

       c.      Inserted warnings and instructions on their products that are severely inadequate,

               vague, confusing, and provide a false sense of security in that they warn and instruct

               specifically on certain conditions, but do not warn of the significantly increased

               risk of NEC and death; and/or

       d.      Failed to insert a large and prominent “black box”-type warning that their cow’s

               milk-based preterm products are known to significantly increase the risk of NEC

               and death when compared to breast milk in premature infants; and/or




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        e.     Failed to disclose well-researched and well-established studies that linked cow’s

               milk-based preterm products to NEC and death in premature infants; and/or

        f.     Failed to insert a warning or instruction to healthcare professionals and other

               medical staff in the Hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed

               Abbott’s products, notwithstanding their substantial risks; and/or

        g.     Failed to provide a warning in a method reasonably calculated or expected to reach

               the parents of newborns; and/or

        h.     Failed to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based preterm products.

        95.    Abbott’s products contained cow’s milk at the time they left the manufacturing

facility.

        96.    As a direct and proximate result of the inadequacy of the warnings and the

pervasive marketing campaigns suggesting the safety and necessity of the Manufacturer

Defendant’s products, Plaintiff’s child was fed cow’s milk-based preterm products, which caused

her to develop NEC.

        97.    The unwarned-of risks are not of a kind that an ordinary consumer would expect.

Had physicians and healthcare providers known of the extreme risk associated with feeding

premature infants cow’s milk-based formula, they would not have fed Iyiana those preterm

products. Had Plaintiff known of the significant risks of feeding Iyiana cow’s milk-based formula,

she would not have allowed such products to be fed to her child.

        98.    As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.




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                                    COUNT IV: NEGLIGENCE
                                        (Against Abbott)

       99.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       100.      Abbott, as the manufacturer and/or seller of the preterm products at issue in this

litigation, owed a duty to the consuming public in general, and Plaintiff in particular, to exercise

reasonable care to design, test, manufacture, inspect, and distribute a product free of unreasonable

risk of harm to users, when such products are used in their intended manner and for their intended

purpose.

       101.      At all times relevant to this action, Iyiana’s health care providers used the preterm

products at issue in their intended manner and for their intended purpose.

       102.      Abbott, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow’s milk-

based infant preterm products at issue in this litigation and thereby breached their duty to the

general public and Plaintiff.

       103.      Specifically, although Abbott knew or reasonably should have known at the time of

production that their cow’s milk-based infant preterm products significantly increased the risk of

NEC, serious injury, and death, they failed to act in a reasonably prudent manner and breached

their duty by:

       a.        Failing to warn that cow’s milk-based products significantly increase the risk of

                 NEC, severe injury, and death in those babies; and/or

       b.        Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

                 for premature infants like Iyiana; and/or




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       c.      Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

       d.      Failing to insert a large and prominent “black box”-type warning that their cow’s

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

       e.      Failing to provide well-researched and well-established studies that linked cow’s

               milk-based products to NEC and death in premature infants; and/or

       f.      Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the Hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed

               Abbott’s products, notwithstanding their substantial risks; and/or

       g.      Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns; and/or

       h.      Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products.

       104.    In addition, although Abbott knew or reasonably should have known at the time of

production that their cow’s milk-based preterm products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.




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       105.     As a direct and proximate result of Abbott’s failure to act in a reasonably

prudent manner and their breach of duty, Plaintiff’s child was fed cow’s milk-based preterm

products, which caused her to develop NEC.

       106.     Had Abbott satisfied their duties to the consuming public in general, Plaintiff’s

child would not have been exposed to their unreasonably dangerous cow’s milk-based preterm

products.

       107.     As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.

                      COUNT V: INTENTIONAL MISREPRESENTATION
                                    (Against Abbott)

       108.     Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       109.     At all times relevant to this action, Plaintiff, Plaintiff’s child, and her caretakers

used the preterm products at issue in their intended manner and for their intended purpose.

       110.     Abbott the manufacturer and/or seller of the infant preterm products at issue in this

litigation, owed a duty to the consuming public in general, and Plaintiff in particular, to provide

truthful, accurate, fulsome information about the risks and benefits of using their products when

used in the intended manner and for the intended purpose.

       111.     Abbott breached their duty through misrepresentations made to consumers,

physicians, and medical staff in their advertising and promotional materials, as described in

previous paragraphs and incorporated herein, each of whom were foreseeable and intended

recipients of this information.




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       112.    Specifically, upon information and belief, Abbott made the following false

statements of material fact on an ongoing and repeated basis and prior to the time Plaintiff’s child

was fed their preterm products:

       a.      That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

       b.      That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

       c.      That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

       d.      That cow’s milk-based products were safe for premature infants; and/or

       e.      That cow’s milk-based products were necessary for optimum growth; and/or

       f.      That cow’s milk-based products were similar or equivalent to breast milk; and/or

       g.      That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

       h.      That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

       i.      Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants.

       113.    Abbott knew or reasonably should have known those misrepresentations to be false.




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       114.     Abbott’s misrepresentations were intended to, and in fact did, induce hospitals and

health care providers, including Hospital Defendants and I y i a n a ’s health care providers, to

provide their infant preterm products to babies, including Iyiana.

       115.     Plaintiff was not aware that these misrepresentations were false and justifiably

relied on them. Abbott’s misrepresentations induced Plaintiff to allow her child to be fed Abbott’s

infant preterm products, in reliance on all the messaging Plaintiff received about formula

feeding, including, directly or indirectly, Abbott’s messaging. Had Abbott not committed these

intentional misrepresentations, Plaintiff’s child would not have been exposed to Abbott’s

unreasonably dangerous cow’s milk-based products.

       116.     As a direct and proximate result, Abbott’s preterm products were fed to

Plaintiff’s child, causing her NEC, subsequent injury, and death.

       117.     As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.

                       COUNT VI: NEGLIGENT MISREPRESENTATION
                                    (Against Abbott)

       118.     Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.

       119.     At all times relevant to this action, Iyiana used the preterm products at issue in their

intended manner and for their intended purpose.

       120.     Abbott, as the manufacturer and/or seller of the preterm products at issue in this

litigation, owed a duty to the consuming public in general, and Plaintiff in particular, to provide

truthful, accurate, and complete information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.




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       121.    In   the   course   of   their   business,   Abbott breached    its   duty   through

misrepresentations made to consumers, physicians, and medical staff in their advertising and

promotional materials, as described in previous paragraphs and incorporated herein, each of whom

were foreseeable recipients of this information.

       122.    Specifically, upon information and belief, Abbott made the following false

statements of material fact on an ongoing and repeated basis and prior to the time Plaintiff’s child

was fed their preterm products:

       a.      That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

       b.      That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

       c.      That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

       d.      That cow’s milk-based products were safe for premature infants; and/or

       e.      That cow’s milk-based products were necessary for optimum growth; and/or

       f.      That cow’s milk-based products were similar or equivalent to breast milk; and/or

       g.      That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or




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        h.      That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

        i.      Omitting the material fact that their products significantly increased the risk of NEC

                in premature infants.

        123.    Abbott was negligent or careless in not determining those representations

to be false.

        124.    Abbott’s misrepresentations were intended to and did in fact induce hospitals and

health care providers, including Iyiana’s Hospital and health care providers, to provide their

preterm products to babies, including Iyiana.

        125.    Abbott’s misrepresentations induced, and were intended to induce, Plaintiff to

allow her child to be fed Abbott’s infant products, in justifiable reliance on all the messaging she

received about formula feeding, including, directly or indirectly, Abbott’s messaging. Had

Abbott not committed these negligent misrepresentations, Iyiana would not have been exposed

to their unreasonably dangerous cow’s milk-based preterm products.

        126.    As a direct and proximate result, Abbott’s preterm products were fed to Iyiana,

causing her NEC, subsequent injuries, and death.

        127.    As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.



                             COUNT VII: CONSTRUCTIVE FRAUD
                                      (Against Abbott)

        128.    Plaintiff incorporates by reference each of the preceding paragraphs as if fully set

forth herein.




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       129.    At all times relevant to this action, Plaintiff, Plaintiff’s child, and her caretakers

used the preterm products at issue in their intended manner and for their intended purpose.

       130.    Abbott, as the manufacturer and/or seller of the preterm products at issue in this

litigation, owed a duty to the consuming public in general, and Plaintiff in particular, to provide

truthful, accurate, and complete information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

       131.    In the course of their business, Abbott breached their duty by failing to exercise due

care and making misrepresentations to consumers, physicians, and medical staff in their

advertising and promotional materials, as described in previous paragraphs and incorporated

herein, each of whom were foreseeable recipients of this information.

       132.    Specifically, upon information and belief, Abbott made the following false

statements of material fact on an ongoing and repeated basis and prior to the time Iyiana was fed

their preterm products:

       a.      That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

       b.      That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

       c.      That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

       d.      That cow’s milk-based products were safe for premature infants; and/or

       e.      That cow’s milk-based products were necessary for optimum growth; and/or




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       f.      That cow’s milk-based products were similar or equivalent to breast milk; and/or

       g.      That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

       h.      That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

       i.      Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants.

       133.    The aforementioned misrepresentations were made with the intent that persons,

including Plaintiff, would rely on them.

       134.    Plaintiff in fact justifiably relied on the aforementioned misrepresentations.

       135.    The aforementioned misrepresentations had the tendency to deceive others—

including Plaintiff—violate public or private confidence, and injure public interest.

       136.    Abbott knew or should have known of the falsity of the aforementioned

misrepresentations.

       137.    Abbott’s aforementioned misrepresentations were intended to and did in fact induce

hospitals and health care providers, including Iyiana’s hospitals and health care providers, to

provide their products to babies, including Iyiana.

       138.    Abbott’s misrepresentations induced, and were intended to induce, Plaintiff to

allow her child to be fed Abbott’s infant preterm products, in justifiable reliance on all the

messaging she received about formula feeding, including, directly or indirectly, Abbott’s




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messaging. Had Abbott not committed these misrepresentations, Iyiana would not have been

exposed to their unreasonably dangerous cow’s milk-based products.

       139.    Abbott had a pecuniary interest in making these misrepresentations, and in

committing their breaches of duty, gained an advantage over Plaintiff by misleading her to her

prejudice and pecuniary loss.

       140.    As a direct and proximate result, Abbott’s preterm products were fed to Iyiana,

causing her NEC, subsequent health impacts, and death.

       141.    As a further direct result, Plaintiff suffered significant emotional distress, loss of

income, and/or other harms. Her life has been significantly affected by Iyiana’s injuries and death.

       WHEREFORE, Plaintiff prays for judgment as follows:

       a.      For Count I, compensatory damages in an amount to be proven at trial as to Hospital

               Defendants, damages for past, present, and future emotional distress, loss of

               enjoyment of life, pain and suffering, mental anguish, and other non-economic

               losses sustained as to Hospital Defendants, past, present, and future out-of-pocket

               costs, lost income and/or lost revenue, and/or lost profits, and/or lost business

               opportunity, lost earning capacity, and costs related to medical or mental health

               treatment which have or may be recommended as to Hospital Defendants;

       b.      For Counts II– VI, compensatory damages in an amount to be proven at trial as to

               Defendant Abbott;

       c.      For Counts II – VI, damages for past, present, and future emotional distress, loss

               of enjoyment of life, pain and suffering, mental anguish, and other non-economic

               losses sustained as to Defendant Abbott;




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     d.     For Counts II – VI, past, present, and future out-of-pocket costs, lost income and/or

            lost revenue, and/or lost profits, and/or lost business opportunity, lost earning

            capacity, and costs related to medical or mental health treatment which have or

            may be recommended as to Defendant Abbott;

     e.     For interest as permitted by law and attorneys’ fees and costs for all counts;

     f.     For such other and further relief as the Court deems proper.

                                DEMAND FOR JURY TRIAL

     Plaintiff hereby demands a jury trial for all claims triable.



DATED: _________                                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on ________, a copy of the foregoing was electronically filed

through the Florida Courts E-Filing Portal which will send electronic notification of the above

filing to all registered users.

                                                          s/ Josh Midgal
                                                            Josh Migdal, Esq.




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